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     LLC and CASHMAN FAMILY
10   INVESTMENTS II LLC
11
                                 UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14
     STACY CHANG,                                 Case No. 3:22-cv-02010-DMR
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                         Plaintiff,               [PROPOSED] ORDER GRANTING
16                                                DEFENDANTS CARLOS CASHMAN,
          v.                                      ARROWSIDE VENTURES LLC AND
17                                                CASHMAN FAMILY INVESTMENTS II
     CARLOS CASHMAN, ARROWSIDE                    LLC NOTICE OF MOTION AND MOTION
18   CAPITAL, LLC, ARROWSIDE FUND GP,             FOR MORE DEFINITE STATEMENT
     LLC, ARROWSIDE VENTURES, LLC, and            UNDER FRCP 12(E)
19   CASHMAN FAMILY INVESTMENTS II, LLC,
                                                  Date:         August 25, 2022
20                       Defendants.              Time:         1:30 p.m.
                                                  Ctrm.:        3, 17th Floor
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                                                  Judge         Judge Richard Seeborg
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                                                  Complaint filed:    March 29, 2022
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                 [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR MORE DEFINITE
                                                                        STATEMENT
                                                         Case No. 3:22-cv-02010-DMR
              Case 3:22-cv-02010-AMO Document 27 Filed 06/17/22 Page 2 of 2



 1                                          [PROPOSED] ORDER
 2          Defendants Carlos Cashman (“Cashman”), Arrowside Ventures LLC (“Ventures”) and Cashman
 3   Family Investments II LLC (“Family Investments”) Motion for More Definite Statement under Federal
 4   Rule of Civil Procedure 12(e) came on hearing on August 25, 2022 at 1:30 p.m. in Courtroom 3 of the
 5   above-captioned court. The Court, having considered the pleadings in this matter and all arguments and
 6   papers submitted in support of, and in opposition to, the Motion for More Definite Statement, and good
 7   cause appearing therefore, HEREBY ORDERS as follows:
 8          Defendants’ Motion for More Definite Statement is hereby GRANTED.
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11   Dated: _________________________               _________________________________
                                                    HON. RICHARD SEEBORG
12                                                  CHIEF UNITED STATES DISTRICT JUDGE
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                 [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR MORE DEFINITE
                                                                        STATEMENT
                                         -1-             Case No. 3:22-cv-02010-DMR
